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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


CARLTON WILLIAMS,

                       Plaintiff,

v.                                                     Case No: 6:16-cv-1785-Orl-40DCI

PROG LEASING, LLC,

                       Defendant.
                                         /

                                         ORDER

        The Court has been advised by the parties that the above-styled action has been

settled. (Doc. 27). Accordingly, pursuant to Local Rule 3.08(b) of the Middle District of

Florida, it is

        ORDERED and ADJUDGED that this case will remain ADMINISTRATIVELY

CLOSED subject to the right of any party to file within sixty (60) days a stipulated form of

final order or judgment or, on good cause shown, to move the Court to re-open the case

for further proceedings. Failure to timely file a stipulated form of final order or judgment

within sixty (60) days will result in the case being dismissed without prejudice without

further notice to the parties.

        DONE AND ORDERED in Orlando, Florida on February 27, 2018.




Copies furnished to:

Counsel of Record
Unrepresented Parties
